Case 2:12-cv-O7399-RGK-SH Document 12 Filed 10/26/12 Page 1 of 5 Page |D #:155

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Attomeys for Defendants (Specially Appearing)
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SHUFFLE MASTER, INC., a Minnesota Case No. CV-12~073 99 (RGK)
corporation,
DEFENDANTS’ OFFER OF
Plaintiff, JUDGMENT
[Fed.R.Civ.P. 68]
v.
VIADEN GAMING LIMITED, a Minsk

co oration, and ARAWELLA
CO ORATION, an Illinois corporation,

Defendants.

 

Defendants VIADEN MEDlA, LLC (incorrectly named and served as VIADEN
GAMING LIMITED), a Belarus (Minsk) corporation, and ARAWELLA
CORPORATION, an Illinois corporation (collectively, “defendants”), hereby offer to
allow judgment against them in resolution of all issues contained in the complaint
pursuant to Fed R. Civ. P. 68 on the following terms:

Plaintiff shall take judgment against defendants, jointly and severally, in the
amount of $100,000, inclusive of all attorney’s fees and costs now or hereafter incurred or
accrued by plaintiff

In addition to the foregoing, defendants shall submit to be permanently enjoined

and restrained from the date of plaintiffs acceptance of this Offer and thereafter from

 

Defendants’ Offer of Judgment - Case No. CV- 12-073 99 (RGK)

 

Case 2:12-cv-O7399-RGK-SH Document 12 Filed 10/26/12 Page 2 of 5 Page |D #:156

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infringing the LET IT RIDE, THREE CARD POKER, CASINO WAR, CARIBBEAN
S'I`UD and PAIR PLUS marks, the Let lt Ride Logo, the Three Card Poker featuring Pair

Plus Game Design and Layout, the Casino War Logo, the Casino War Game Design and

Layout, the Caribbean Stud Poker Logo, and the Caribbean Stud Poker Game Design and

Layout (the foregoing capitalized terms shall take their respective meanings from

paragraphs 18-37 and 40-45 of plaintiffs complaint and the attendant proofs of federal

registration attached thereto) (collectively, the “Plaintiff’s Intellectual Property”) as

follows:

A.

Using, displaying, advertising, promoting, registering, licensing,
transferring, or assign ing, any of Plaintiff’s Intellectual Property on or in
connection with the following games: “Let ‘em Ride,” “Poker Three”
(which includes a side bet entitled “Pair Plus”), “Card Wars,” and
“Caribbean Poker”(collectively, the “Infringing Games”);

Using, offering for sale, selling, or licensing any of the trademarks
embodied in Plaintiff’ s Intellectual Property on or in connection with the
Infringing Games in a manner causing actual confusion, mistake, deception,
or public misunderstanding that such games are produced or provided by
plaintiff, are sponsored or authorized by plaintiff, or are in any way
connected or related to plaintiff;

Using, offering for sale, selling, or licensing any of the trademarks
embodied in Plaintiff’s Intellectual Property on or in connection With the
Infringing Games causing actual dilution of the distinctiveness of those
trademarks;

Passing off or palming off the Infringing Games as those of plaintiff; and
Reproducing, distributing, displaying, selling, offering for sale or licensing
the Infringing Games in a manner that copies protected elements of the

copyrights embodied in Plaintiff’ s Intellectual Property in violation of U.S.

law.

 

Defendants’ Offer of Judgment ~ Case No. CV-12-07399 (RGK)

 

Case 2:12-cv-O7399-RGK-SH Document 12 Filed 10/26/12 Page 3 of 5 Page |D #:157

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F. Notwithstanding anything to the contrary contained herein, with respect to
the use, display, advertising or promotion of the Infringing Games via
online software or any application sold or distributed via the internet,
defendants shall only be restrained and enjoined in connection with any
domain name or web site shown by clear and convincing evidence to be
within defendants’ actual and direct control.

In accordance with the foregoing in the event this offer is accepted without
condition within the statutory period, defendants shall waive any personal jurisdictional
defense to the action and allow judgment to be entered in this Court against them as stated
above; otherwise, these defenses shall be expressly reserved

For the avoidance of doubt, the foregoing Offer is inclusive of all attorney’s fees
awardable by statute or otherwise and any claim for fees payable to expert witnesses or
other costs now or hereafter incurred or accrued, and is otherwise in satisfaction of all
claims for damages, costs, expenses, attomey’s fees and interest in this action, and shall
bear no interest The foregoing Offer shall not be construed as an admission of
wrongdoing of any kind by defendants

Plaintiff may indicate acceptance of this offer by signing, or having its attorney

sign, a separate Written statement that the offer is accepted

DATED: October 23, 2012 PHILLIPS, ERLEWINE & GIVEN LLP
ll

By: ‘

Dav M. Given
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cia ly Appearin

 

 

Defendants’ Offer of Judgment - Case No. CV-12-07399 (RGK)

 

Case 2:12-cv-O7399-RGK-SH Document 12 Filed 10/26/12 Page 4 of 5 Page |D #:158

 

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I, the undersigned, declare that I am over the age of eighteen and not a party to this action.

My business address is Phillips Erlewine & Given LLP, 50 California Street, 35th Floor, San
Francisco, California 941 1 1.

On the date below, at my place of business at San Francisco, California, a copy of the

following document(s):

DEFENDANTS’ OFFER OF JUDGMENT [Fed.R.Civ.P. 68]

Was placed in a sealed envelope addressed to:

Erica J. Van Loon Attorneys for Plaintijj”Shqule Master lnc.
Glaser, Weil, Fink, Jacobs, Howard, Avchen

& Shapiro

10250 Constellation Boulevard, 19'h Floor
Los Angeles, CA 90067

Email: evanloon@alaserweil.com
Telephone: 310-553-3000

Fax:

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310-556-2920

BY U.S. MAIL: I placed the above documents in a sealed envelope for deposit in the
United States Postal Service, With first class postage fully prepaid, and that envelope was
placed for collection and mailing on that date following ordinary business practices

\ BY FACSIMILE TRANSMISSION: I transmitted the above documents by facsimile

transmission to the FAX telephone number listed for each party above and obtained
confirmation of complete transmittal thereof

BY ELECTRONIC TRANSMISSION: l caused the above documents to be electronically
transmitted to the parties listed above.

 

BY CAUSI`NG PERSONAL SERVICE: I placed the above documents in a sealed

envelope I caused such envelope(s) to be given to our messenger service to be delivered
by hand to the above address(es).

 

BY PERSONAL SERVICE: l placed the above documents in a sealed envelope. I
delivered each of said envelopes by hand to the above address(es).

BY OVERNIGHT EXPRESS: I placed the above documents in a sealed envelope. l

caused such envelope(s) to be delivered by Federal Express to the above address(es) by
overnight express.

l.

 

 

PROOF OF SERVICE

 

Case 2:12-cv-O7399-RGK-SH Document 12 Filed 10/26/12 Page 5 of 5 Page |D #:159

 

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I declare under penalty ofperj ury under the laws of the State of California that the
foregoing is true and correct. Executed on October 23, 2012, at San Francisco, California.

Rosemary@€omisky Culiver§/@ML\\

 

 

